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14
                        IN THE UNITED STATES DISTRICT COURT
15
                               FOR THE DISTRICT OF ARIZONA
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17
      United States of America,                          CR-18-422-PHX-DJH
18
                           Plaintiff,            UNITED STATES’ RESPONSE TO
19                                               DEFENDANTS’ OBJECTION TO
              v.                                  FRYE-COOPER HEARING AND
20                                               MOTION TO VACATE HEARING
                                                   (Docs. 1681, 1684, 1687, 1689)
21    Michael Lacey, et al.,
22                         Defendants.
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 1                                     Preliminary Statement
 2          This Court properly scheduled a Frye/Cooper hearing to take place on Friday,
 3   August 18, 2023. To prevent claims of ineffective assistance of counsel, courts in this
 4   District routinely hold Frye/Cooper hearings to ensure that criminal defendants were
 5   informed before trial of any plea offers, and obtain on-the-record confirmation of the
 6   defendants’ response. Despite this long-standing practice, and after requesting the Court
 7   reschedule the Frye/Cooper hearing in this case, Defendants now object that any such
 8   hearing is not necessary and could intrude on the attorney-client relationship or contravene
 9   Fed. R. Crim. P. 11(c)(1). Defendants are wrong, and their Motion to Vacate the hearing
10   should be denied.
11                                             Argument
12   I.     Frye/Cooper Hearings Forestall Ineffective Assistance of Counsel Claims.
13          In Missouri v. Frye, 566 U.S. 134 (2012), defense counsel neglected to inform a
14   defendant of a favorable plea offer before the offer’s expiration. When the defendant later
15   pleaded guilty and received a harsher sentence than that contemplated in the plea offer,
16   counsel’s performance was ruled constitutionally deficient. To prevent such errors, the
17   Supreme Court recommended several safeguards, including making plea offers part of the
18   record before trial:
19
            The prosecution and the trial courts may adopt some measures to help ensure
20          against the late, frivolous, or fabricated claims after a later, less advantageous
            plea offer has been accepted or after a trial leading to conviction with
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            resulting harsh consequences … [F]ormal offers can be made part of the
22          record … before a trial on the merits, all to ensure that a defendant has been
            fully advised before those further proceedings commence.
23
24   Frye, 566 U.S. at 146. The Supreme Court’s recommendations included extending a formal
25   plea offer, reducing the plea offer to writing, and making a plea offer “part of the record at
26   any subsequent plea proceeding or before a trial on the merits, all to ensure that a defendant
27   has been fully advised before those further proceedings commence.” Id. at 146. Regarding
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 1   the third measure, the Supreme Court referenced a procedure by which the parties
 2   “memorialize in some fashion prior to trial (1) the fact that a plea bargain offer was made,
 3   and (2) that the defendant was advised of the offer and its precise terms, . . . and (3) the
 4   defendant’s response to the plea bargain offer.” Id. at 147.
 5          In a companion case, Lafler v. Cooper, the Supreme Court recognized that when the
 6   government extends a plea offer to a defendant, the defendant “has the right to effective
 7   assistance of counsel in considering whether to accept it.” 566 U.S. 156, 168 (2012). If a
 8   defendant does not receive such assistance, and “loss of the plea opportunity [leads] to a
 9   trial resulting in a conviction on more serious charges or the imposition of a more severe
10   sentence,” the defendant has suffered prejudice as a result of the ineffective assistance. Id.
11   The Lafler opinion cited with approval the preventive measures outlined in Frye to guard
12   against later claims of ineffectiveness. Id. at 172.
13          Both caution and the Supreme Court instruct that the proper route to preclude future
14   litigation over the information Defendants received about any plea bargain offers is to make
15   a formal record of the plea offer and the Defendant’s response. Thus, the United States has
16   proposed a hearing at which the parties can put on the record the following facts regarding
17   each Defendant: (1) the United States extended a plea offer; (2) the substance of the offer;
18   (3) the Defendant understood the offer, its terms, and its deadline; and (4) Defendant
19   knowingly rejected it. Doc. 1642 at 24. This reflects longstanding practice in this District.
20   See, e.g., Ontiveros-Ponce v. Ryan, CR-17-00081-PHX-JJT, 2019 WL 3557602, at *1-3
21   (D. Ariz. June 10, 2019) (describing Frye hearing). The Court scheduled the requested
22   hearing, see Doc. 1677, and then rescheduled it at Defendants’ request. It is presently set
23   for Friday, August 18, 2023.
24   II.    Defendants’ Objections Are Unavailing.
25          A.     An Ex Parte Affidavit of Counsel Is Insufficient.
26          Defendants’ attempt to circumvent the hearing through submission of an ex parte
27   affidavit of counsel does little to ensure that future litigation will be avoided. Without
28   access to the ex parte affidavit, the United States cannot assess whether the precise offer


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 1   made was conveyed to the Defendant. Similarly, this Court does not have the information
 2   necessary to assess the ex parte affidavit to determine whether the offers made by the
 3   United States are the same as described in counsel’s affidavit. Further, the ex parte
 4   representations of counsel cannot supplant the Defendant’s on-the-record confirmation of
 5   the essential facts underlying the Frye/Cooper inquiry. Cf. Ontiveros-Ponce, 2019 WL
 6   3557602, at *3 (“[defendant’s] statements in open court are given substantial weight”)
 7   (citing United States v. Kaczynski, 239 F.3d 1108, 1115 (9th Cir. 2001).
 8          B.     The Hearing Will Not Intrude on the Attorney-Client Relationship.
 9          Defendant asserts that the proposed hearing “presents the issue” of “intimidation
10   and interference in the attorney-client relationship.” Mot. at 2. While Defendant includes
11   boilerplate statements about privilege, Defendant never explains how the proposed hearing
12   would actually violate the privilege, let alone how privilege law applies to the facts here.
13          The United States in no way intends to invade the attorney-client relationship. On
14   the contrary, the United States intends to ensure each Defendant’s right to effective
15   assistance of counsel. The United States has a substantial interest in making a record of
16   plea offers that have been formally conveyed to a defendant and then rejected. If the
17   Defendant is convicted at trial and subsequently receives a sentence higher than that
18   contemplated by the plea offer, the United States will have an interest in forestalling later
19   appellate or 28 U.S.C. § 2255 ineffective assistance of counsel claims involving the
20   Defendant’s receipt and knowledge of the United States’ plea offers. Thus, the United
21   States seeks merely to create a record in the Defendant’s own words acknowledging that
22   he/she knows a plea offer was made, the precise terms of the offer, and the rejection of that
23   offer. The United States does not seek or advocate for anything beyond those basic facts,
24   and certainly does not seek information about any questions that the Defendant asked of
25   his/her counsel, much less any advice that counsel gave on the matter.
26          In a prior case in this District, Mr. Feder, one of the attorneys in this case, similarly
27   objected, on privilege grounds, to an on-the-record inquiry at a final pretrial conference
28   regarding whether defendants had been made aware of the plea offer and the deadline for


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 1   acceptance. See United States v. Anderson, 19-CV-2142-SRB (DMF), Doc. 19, Report &
 2   Recommendation (D. Ariz. June 25, 2020). In response, the Court noted that it was “not
 3   going to ask [the defendant] about any conversations with [Mr. Feder]. I’m asking if he
 4   was aware that the government had extended the plea offer.” Id. at 13. That is precisely
 5   what the United States intends here: An inquiry into each Defendant’s knowledge of the
 6   plea offers extended and confirmation from the Defendant that the offer was not accepted.
 7          C.     Defendants’ Rule 11 Assertions Are Misplaced.
 8          Rule 11(c)(1) provides that “[a]n attorney for the government and the defendant's
 9   attorney, or the defendant when proceeding pro se, may discuss and reach a plea agreement.
10   The court must not participate in these discussions.” The United States is not inviting nor
11   advocating for the Court to “participate in these discussions.” Instead, the purpose of the
12   requested hearing is to establish that any discussions have long since been completed. The
13   Court’s role in this hearing is no more participatory in the discussions than when it conducts
14   a colloquy at the time of a guilty plea.
15          Defendant Vaught relies on Phillips v. United States, 519 F.2d 483, 485 (6th Cir.
16   1975) 1 , yet Phillips does not support her Rule 11 argument. Instead, it affirmatively
17   supports the United States’ argument. In Phillips, the Sixth Circuit reversed a guilty plea
18   because the District Court did not engage in a direct questioning of the defendant, but relied
19   exclusively on the representations of defendant’s counsel regarding what was conveyed by
20   defense counsel prior to the defendant pleading guilty. In other words, Phillips holds that
21   a guilty plea cannot be accepted as knowing and voluntary if the defendant is not directly
22   asked questions to build a record about knowledge and voluntariness.
23          Phillips in no way addresses the issue of a colloquy regarding a rejected plea offer,
24   but it certainly is informative about the need to engage directly with the defendant. Indeed,
25   Phillips quotes the Supreme Court in McCarthy v. United States, 394 U.S. 459, 462 (1969):
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27          1 Defendant cited this case as being in the F.3d Reporter, but undersigned counsel

28   reasonably believes that the one in F.2d is what was intended by Defendant. See Mot. at 4-
     5.

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 1   “By personally interrogating the defendant, not only will the judge be better able to
 2   ascertain the plea’s voluntariness, but he also will develop a more complete record to
 3   support his determination in a subsequent post-conviction attack.” McCarthy, 394 U.S. at
 4   466. That is precisely the argument the United States makes here: By asking Defendants
 5   about the plea offers that were not accepted, this Court will develop a record that will assist
 6   this Court (and others) in any subsequent post-conviction attack. Such questioning does
 7   not involve the Court in plea discussions, but merely establishes a record about each
 8   Defendant’s receipt of a plea offer and choice not to accept it.
 9          Defendant’s reliance on Braxton is also misplaced. Mot. at 5-6. There, the district
10   judge repeatedly, and improperly, gave his opinion on the government’s plea offer. 2 United
11   States v. Braxton, 784 F.3d 240, 242 (4th Cir. 2015). The United States is not suggesting
12   anything even remotely similar to what the court did in Braxton. But the Fourth Circuit
13   observed that it was proper under Frye for the court to have conducted a brief colloquy:
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            At the very opening of proceedings, the government, citing Frye, asked to
15          “memorialize ... for the record” communication of its plea offer to Braxton.
            After [defense counsel] agreed, the government described the offer, and the
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            court ensured that Braxton understood the terms of the plea agreement he had
17          rejected. At this point, the court brought the Frye portion of the proceedings
            to a definitive close: “Well, that’s fine. The record will reflect you’ve been
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            so advised of the plea offer in this case. The defendant is ready to proceed to
19          trial.”
20   Braxton, 784 F.3d at 246.
21          The United States suggests that this Court do what the Fourth Circuit found

22   appropriate in Braxton. Indeed, even the quote Defendant Vaught cites makes clear that

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24          2 For example, the District Court in Braxton told the defendant: “I am not favorably

25   inclined towards having you go to trial and trigger a mandatory minimum of 20 years, as
     opposed to a plea offer that's down in the 10 to 15 year range in terms of years of your
26   life.” Additionally, the District Court told the defendant he was “hurting [his] own interest”
     by choosing to go to trial. The District Court further compared the decision to go to trial to
27   “put [ting] [your] head in a buzz saw that makes absolutely no sense.” After a recess, the
     district court again advocated for the rejected plea agreement, declaring, “[A] defendant
28   shouldn't put his head in a vice [sic] and face a catastrophic result just over a dispute over
     drug quantity. That's the point.”

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 1   “the district court, as described above, fulfilled its role under Frye by memorializing the
 2   offer on the record at the government’s request, prior to making the remarks at issue in this
 3   case.” Braxton, 784 F.3d 240, 247 (4th Cir. 2015); Mot. at 5. The United States is asking
 4   to memorialize the offer on the record, but the offer cannot be properly memorialized if the
 5   United States does not have an opportunity to articulate the precise terms of the offer, and
 6   have the defendant state, under oath, that he or she received that offer and rejected it.
 7                                           Conclusion
 8          Defendants’ Motion to Vacate Hearing (Doc. 1681) should be denied.
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            Respectfully submitted this 11th day of August, 2023.
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11
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12                                              United States Attorney
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13
14                                              s/Austin M. Berry
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18                                              AUSTIN M. BERRY
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19                                              Criminal Division, U.S. Department of Justice
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                                  CERTIFICATE OF SERVICE
21
22          I hereby certify that on August 11, 2023, I electronically transmitted the attached
23   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
24   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
25   as counsel of record.
26
     s/ Austin M. Berry
27   Austin M. Berry
     Trial Attorney
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